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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA                                                           PLAINTIFF

vs.                                 NO. 4:04CR00281-01 JLH

NELSON MILLER                                                                    DEFENDANT


                                           ORDER

       This matter is hereby rescheduled for trial to a jury to begin at 9:15 a.m. the week of

WEDNESDAY, JANUARY 2, 2008, in Little Rock, Arkansas. Counsel are to be present thirty

minutes prior to trial time. Revised jury instructions should be submitted to the Court on a 3½”

diskette in WordPerfect format or electronically to jlhchambers@ared.uscourts.gov by December

21, 2007.

       IT IS SO ORDERED this 19th day of November, 2007.



                                                   _________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
